                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF WISCONSIN
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PREPARED FOOD PHOTOS, INC. f/k/a/
ADLIFE MARKETING & COMMUNICATIONS CO., INC.,
                                                                    Honorable William Duffin
                   Plaintiff,
     vs.                                                           Case No. 2:22-cv-652
KARL’S COUNTRY MARKET, INC.

                Defendant and Third Party Plaintiff,
      vs.

HOMETOWN PUBLICATIONS II, INC. d/b/a EXPRESS NEWS

      Third - Party Defendant.
______________________________________________________________________________

       NOTICE OF VOLUNTARY DISMISSAL OF THIRD PARTY COMPLAINT
                        PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)
  _____________________________________________________________________________

       Pursuant to F.R.C.P 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the Defendant and

Third Party Plaintiff Karl’s Country Market, Inc., hereby gives notice that the above captioned third

party action against the third party defendant Hometown Publications II, Inc. d/b/a Express News is

voluntarily dismissed, without prejudice.

                Dated this 26th day of September 2022.

                                                       JEFFREY LEAVELL, S.C.

                                                       Electronically signed by Jeffrey Leavell
                                             By:       __________________________________
                                                       Jeffrey Leavell
                                                       State Bar No.: 1004734
                                                       Attorneys for Defendant and Third Party
                                                       Plaintiff Karl’s Country Market, Inc.
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